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     Bruce Locke (#177787)

     Moss & Locke
 2   701 University Ave, Ste 100
 3   Sacramento, CA 95825
 4   916-569-0667
 5   Attorneys for Sharice Williams
 6                                    UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
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10          UNITED STATES,
                                                            No. 2:15-CR-185 TLN
11                            Plaintiff,

12                  v.                               STIPULATION AND ORDER TO

13          SHARICE WILLIAMS,                        CONTINUE THE STATUS CONFERENCE

14                            Defendant.             TO JANUARY 14, 2016

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20          IT IS HEREBY STIPULATED AND AGREED between the defendant, by and through

21   her undersigned defense counsel, and the United States of America, by and through its counsel,

22   Assistant U.S. Attorney Roger Yang, that the status conference presently set for November 19,

23   2015 at 9:30 a.m., should be continued to January 14, 2016 at 9:30 a.m., and that time under the

24   Speedy Trial Act should be excluded from November 19, 2015 through January 14, 2016.

25          The reason for the continuance is that defense counsel will be out of town on November
     19, 2015 and the case is relatively new and the defense needs additional time to conduct
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     investigation and review the discovery. The discovery includes several video tapes. The exclusion
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     of time is also necessary to ensure continuity of counsel.     Accordingly, the time between
     November 19, 2015 and January 14, 2016 should be excluded from the Speedy Trial calculation

 2   pursuant to Title 18, States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense

 3   preparation. The parties stipulate that the ends of justice served by granting this continuance

 4   outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C.
     §3161(h)(7)(A). Mr. Yang has authorized Mr. Locke to sign this pleading for him.
 5

 6          Date: November 10, 2015                             /s/ Bruce Locke
 7                                                             BRUCE LOCKE
                                                               Attorney for Sharice Williams
 8

 9
            Date: November 10, 2015                             /s/ Bruce Locke
10
                                                               For ROGER YANG
11                                                             Assistant United States Attorney

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13          IT IS SO ORDERED.
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15          Dated: November 10, 2015
                                                             Troy L. Nunley
16                                                           United States District Judge

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